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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    CARRIE LEONETTI, Maryland Bar
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    ARKISA NALINI BROWN
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. 1:06-cr-0201 OWW
                                           )
12                 Plaintiff,              )             STIPULATION TO CONTINUE
                                           )             SENTENCING/PROBATION VIOLATION
13     v.                                  )             HEARING; ORDER THEREON
                                           )
14   ARKISA NALINI BROWN,                  )             Date : December 10, 2007
                                           )             Time : 1:30 p.m.
15                 Defendant.              )             Judge : Hon. Oliver W. Wanger
     _____________________________________ )
16
17          IT IS HEREBY STIPULATED, by and between the parties hereto, and through their
18   respective attorneys of record herein, that the sentencing/probation violation hearing in the above
19   captioned matter now scheduled for October 29, 2007, may be continued to December 10, 2007 at 1:30
20   p.m.
21          The continuance sought is at the request of defense counsel in that defense counsel has retained the
22   services of a psychiatrist to examine and evaluate defendant and the psychiatrist has informed defense
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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1    counsel that the report will not be completed until approximately December 3, 2007.
2
3                                                        McGREGOR M. SCOTT
                                                         United States Attorney
4
5    DATED: October 25, 2007                             By /s/ Mark J. McKeon
                                                            MARK M. McKEON
6                                                          Assistant United States Attorney
                                                           Attorney for Plaintiff
7
8                                                        DANIEL J. BRODERICK
                                                         Federal Defender
9
10   DATED: October 25, 2007                             By /s/ Carrie S. Leonetti
                                                           CARRIE S. LEONETTI
11                                                         Assistant Federal Defender
                                                           Attorney for Defendant
12
13
14
                                                    ORDER
15
             IT IS SO ORDERED.
16
     Dated: October 25, 2007                         /s/ Oliver W. Wanger
17   emm0d6                                     UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Sentencing/
     Probation Violation Hearing                        2
